Case 7:16-cv-00141-WLS Documenté6- Filed 11/14/16 Page1of2

UNITED STATES DISTRICT COURT
for the
Middle District of Georgia

KENNETH JOHNSON and JACQUELYN )

JOHNSON, et al.,
Plaintiffs
V. ) Civil Action No. 7:16-CV-00141-WLS
BRANDON BELL, et al., )
Defendants. )

SUMMONS IN A CIVIL ACTION

To: WILLIAM “WES” TAYLOR, Defendant
C/O WAYNE S. MELNICK
FREEMAN, MATHIS & GARY
100 Galleria Pkwy., S.E., Ste. 1600
Atlanta, GA 30339

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Chevene B. King, Jr.
P. O. Box 3468
Albany, GA 31706-3468

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Sees —

Signature of Clerk or Deputy Clerk

Date: L1-14- I

Case 7:16-cv-00141-WLS Documenté6 - Filed 11/14/16 Page 2 of 2

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SUMMONS IN A CIVIL ACTION

To: WILLIAM “WES” TAYLOR, Defendant
C/O L. WARREN TURNER, JR.
Attommey at Law
1006 Slater Street
Valdosta, GA 31601

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P. 12 (a)(2) or (3) —- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Chevene B. King, Jr.
P. O. Box 3468
Albany, GA 31706-3468

if you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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CLERK OF COURT

Date: | |- H-I,

Signature of Clerk or Deputy Clerk

